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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                         Plaintiff,    §
                                       § Criminal No. 3:09-CR-249-D(09)
 VS.                                   §
                                       §
 WILLIAM MICHAEL WATTS,                §
                                       §
                         Defendant.    §

                             MEMORANDUM OPINION
                                 AND ORDER

       In this memorandum opinion and order, the court addresses

 several filings of pro se defendant William Michael Watts (“Watts”)

 that the court has not yet decided.         The court is not at this time

 addressing other filings.1

                                       I

       As an initial matter, the court notes that, as a pro se

 defendant, Watts is not excused from complying with the national

 and local rules of procedure.         See United States v. Fields, 483

 F.3d 313, 359 (5th Cir. 2007) (“A defendant proceeding pro se is

 expected to follow ordinary procedural rules.” (citing Faretta v.



       1
       For example, the court is not addressing in this memorandum
 opinion and order Watts’s June 23, 2010 notice of due process
 violations [395]. Nor is the court addressing some filings that
 Watts has made for the record in this case but that do not request
 relief from the court, e.g., a notice of “COMPLAINTS TO STATE BAR,”
 filed June 10, 2010 [385], or requests made for the record in this
 case but directed to others, e.g., letter to the Clerk of Court
 filed June 23, 2010 [389]. Finally, the court is not addressing
 discovery-type motions, e.g., August 30, 2010 motion for production
 of evidence [582], which will be addressed contemporaneously with
 discovery-type motions of codefendants.
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 California, 422 U.S. 806, 834 n.46 (1975))); United States v.

 Frasier, 54 Fed. Appx. 414, at *1 (5th Cir. 2002) (per curiam)

 (“Even pro se defendants must comply with the relevant rules of

 procedural and substantive law.” (citing Faretta, 422 U.S. at 834

 n.46)); see also N.D. Tex. Crim. R. 57.14 (“Any party proceeding on

 the party’s own behalf is considered pro se.               Pro se parties must

 read and follow the local criminal rules of this court and the

 Federal Rules of Criminal Procedure.”).2               Watts has made a number

 of requests by letter.      Fed. R. Crim. P. 47(a) provides that “[a]

 party applying to the court for an order must do so by motion.”

 And under this court’s local criminal rules, certain motions must

 be accompanied by a brief.           See N.D. Tex. Crim. R. 47.1(h).3           A

 brief must comply with various requirements. See Rule 47.2(a)-(d).

 A number of Watts’s filings that the court addresses today do not

 comply with the national and local criminal rules.                 Although the

 court will address them, it advises Watts that future filings must

 comply with the national and local rules.                  Those that do not

 materially comply may be stricken, disregarded, or denied based on

 such noncompliance.


       2
       The court advised Watts of this during the hearing in which
 he waived the right to counsel, and Watts acknowledged that he
 understood.
       3
       Watts is not required to type his pleadings, provided they
 are printed legibly. Rule 47.2(a) provides that “[a] brief must be
 printed, typewritten, or presented in some other legible form.”
 Although Watts has made numerous substantively deficient filings,
 he has not made illegible filings.

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                                       II

       Watts was represented by counsel until June 18, 2010, when the

 court granted his motion to proceed pro se. Watts’s filings before

 June 18, 2010 are properly disregarded because “[a] criminal

 defendant does not have the right to ‘hybrid representation.’”

 United States v. Watts, No. 3:09-CR-249-D, at 1 (N.D. Tex. May 12,

 2010) (order) (Fitzwater, C.J.) (quoting United States v. Lopez,

 313 Fed. Appx. 730, 731 (5th Cir. 2009) (per curiam)).                The court

 therefore strikes the following filings:

       May 18, 2010 affidavit of criminal conspiracy [350]4;

       May 18, 2010 affidavit of ultra vires conspiracy [351];

       May 20, 2010 affidavit [358];

       May 20, 2010 affidavit [359];

       May 20, 2010 letter to court [360];

       May 25, 2010 letter to court [366];

       June 1, 2010 notice of commercial tort claim [373];

       June 7, 2010 notice of affirmative defense of payment [379];

       June 7, 2010 notice of affirmative defense of accord and

       satisfaction [380];

       June 7, 2010 notice of affirmative defense of fraud [381];

       June 8, 2010 notice of affirmative defense of mistake, duress,


       4
       Each number shown within brackets refers to the corresponding
 document number shown on the court docket. Given Watts’s numerous
 filings, the court is including the document number to facilitate
 ease of reference and to assist in determining whether a filing has
 been addressed.

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       and ineffective assistance [384];

       June 9, 2010 notice of affirmative defense of set-off [383];

       and

       June 10, 2010 notice of agreed case [386].

                                       III

       To the extent that the following filings request relief from

 the court, they are denied as meritless, frivolous,5 and/or legally

 irrelevant to this criminal prosecution:

       June 24, 2010 affidavit of commercial crimes [398];

       June 28, 2010 affidavit of truth [408];

       June 30, 2010 notice of intentions [416];

       June 30, 2010 affidavit of truth - money [417];

       July 6, 2010 pleading of lack of standing [426];

       July 7, 2010 pleading of no subject matter jurisdiction [434];

       July 7, 2010 notice of defendant’s intention to defend UCC

       [435];

       July 8, 2010 motion to strike indictment [436];6

       July 8, 2010 pleading of no in personam jurisdiction [438];

       July 9, 2010 pleading of lack of standing [441];


       5
       Several of Watts’s pro se filings are based on his so-called
 status as a member of a sovereign and independent nation, or they
 assert claims or defenses under the Uniform Commercial Code or
 other civil or commercial laws. These types of filings not only
 lack legal support in the context of this case, but they have been
 characterized by courts as frivolous.
       6
       Construing this filing as a motion to dismiss, the motion is
 denied.

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       July 14, 2010 affidavit of bias and prejudice [450];

       July 14, 2010 affidavit in support of reply to government’s

       response to pleadings [453];

       July 14, 2010 reply to government’s response to pleadings

       [454];

       July 14, 2010 notice of dishonor [455];

       July 14, 2010 notice of dishonor [456];

       July 14, 2010 notice of dishonor [457];

       July 14, 2010 request for receipt of tender [458];

       July 16, 2010 demand for proof of claims [461];

       July 19, 2010 pleading of agreed case [465];

       July 23, 2010 petition for writ of mandamus [485];

       July 23, 2010 pleading of malicious prosecution [485];

       July 23, 2010 letters rogatory [486];

       July 27, 2010 statement of uncontroverted facts [491];

       July 28, 2010 notice of dishonor [493];

       July 28, 2010 notice of dishonor [494];

       July 29, 2010 notice of dishonor [506];

       July 30, 2010 notice to court [507];

       July 30, 2010 statement of agreed facts [509];

       August 18, 2010 letter rogatory [558];

       August 18, 2010 judicial notice of unopposed motion to vacate

       judgment or proceeding [560];

       August 18, 2010 pleading of government misconduct [561];


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       August 25, 2010 motion to dismiss indictment and letter

       rogatory [574];

       August 30, 2010 judicial notice of effect of not responding

       [585]; and

       September 2, 2010 affidavit [591].

                                       IV

       The following filings rely, wholly or partially, on federal

 civil statutes, Federal Rules of Civil Procedure, or on procedures

 that are available in civil but not criminal cases.              For example,

 “[t]here is no such thing as a motion for summary judgment in a

 criminal case.”       Russell v. United States, 369 U.S. 749, 791

 (1962). Accordingly, any relief requested in the following filings

 is denied:

       June 30, 2010 letter seeking remedy under 28 U.S.C. § 2464, in

       accordance with Fed. R. Civ. P. 65(c) [411];

       July 19, 2010 motion for declaratory judgment [464];

       July 21, 2010 motion for declaratory judgment [475];

       July 21, 2010 motion for mandatory settlement conference

       [476];

       July 23, 2010 motion for summary judgment [485]

       July 28, 2010 motion for dismissal [495];

       July 28, 2010 motion for summary judgment [497];




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         August 2, 2010 motion for a more definite order [513];7

         August 2, 2010 motion for summary judgment on the pleadings

         [514];

         August 4, 2010 motion to dismiss under 12(b)(1) [521];

         August 5, 2010 interrogatory to grand jury foreman [525];

         August 5, 2010 interrogatory for personnel of Bureau of

         Prisons [527];

         August 6, 2010 interrogatory to the Secretary of the Treasury

         [530];

         August 10, 2010 interrogatory Special Agent Allyn Lynd [536];

         August 20, 2010 motion for sanctions [567]; and

         August 30, 2010 interrogatory for witness [581].

                                        V

         Several of Watts’s filings purport to assert defenses of some

 type.       Many of these defenses are relevant only in a civil suit.

 But assuming that any of the asserted defenses are relevant in this

 case, it is not necessary that Watts assert them pretrial.                   For

 example, a defendant must give the government pretrial notice of

 its intent to present an insanity defense.             See Rule 12.2(a).     The

 court therefore will not strike the following filings.                       But

 assuming, without deciding, that they request pretrial relief, they

 are denied as meritless, frivolous, and/or irrelevant to this case:



         7
       To the extent this filing requests relief on a basis other
 than a civil rule, it is denied on the merits.

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       June 23, 2010 affidavit of secured party [391];

       June 23, 2010 affidavit of denial of accommodation party

       [392];

       June 23, 2010 affidavit of denial of corporate existence

       [393];

       June 25, 2010 affidavit of extinguishment of obligations

       [399];

       June 30, 2010 pleading of novation [413];

       June 30, 2010 pleading of paramount title [414];

       June 30, 2010 pleading of set-off and motion for release and

       discharge [419];

       July 6, 2010 pleading of ratification [423];;

       July 6, 2010 pleading of ultra vires [424];

       July 6, 2010 pleading of nonattachment of lien [425];

       July 6, 2010 pleading of subrogation [427];

       July 6, 2010 pleading of discharge [429];

       July 7, 2010 judicial notice of sovereignty [430];

       July 7, 2010 judicial notice of holder in due course status

       [432];

       July 7, 2010 pleading of affirmative defense of immunity

       [433];

       July 9, 2010 pleading of denial of corporate existence [440];

       July 19, 2010 pleading of accord and satisfaction [466];

       July 19, 2010 pleading of release [472];


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       July 27, 2010 pleading of estoppel [492];

       July 28, 2010 judicial notice of estoppel [498];

       July 29, 2010 pleading of estoppel [503];

       July 29, 2010 pleading of failure of consideration [505]; and

       August 4, 2010 judicial notice of acceptance for value and

       discharge [522].

                                           VI

       Watts’s July 9, 2010 motion for leave to augment codefendant

 Matthew Norman Simpson’s (“Simpson’s”) motion for evidentiary

 hearing [442] is denied as moot.                  The court construes Watts’s

 motion as a joinder in Simpson’s motion, which the court denied on

 July 1, 2010.         See United States v. Simpson, No. 3:09-CR-249-D

 (N.D. Tex. July 1, 2010) (order) (Fitzwater, C.J.).                          Simpson

 requested an evidentiary hearing to address questions regarding

 putatively-varying signatures of the grand jury foreperson on the

 indictment and the superseding indictment.                 Id. at 1.      In denying

 the   motion,    the     court    noted        that   an   irregularity      in   the

 foreperson’s     signature       does   not     automatically       invalidate    the

 indictment. Id. In fact, a foreperson’s signature is a formality,

 and is not constitutionally required.                 Id. at 1-2.    Moreover, the

 court noted that the court’s procedures and Rule 6(f) were followed

 in returning the indictment and superseding indictment.                    Id. at 2.

 Simpson   also   did     not   allege     any     prejudice   from     the   alleged

 variances in the signatures.            Id. at 3.      The court therefore held


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 that Simpson did not demonstrate that the court should hold a

 hearing. Id. Watts’s motion for leave to augment Simpson’s motion

 is therefore denied as moot.          Likewise, because the following two

 motions are based on the same argument and present no grounds to

 support a different conclusion from that reached in Simpson, the

 court denies Watts’s July 14, 2010 motion for reconsideration

 [448], which requests that the court reconsider Simpson’s motion

 for an evidentiary hearing, and Watts’s July 28, 2010 motion for

 reconsideration [496], which requests that the court reconsider

 Simpson’s motion for an evidentiary hearing and Watts’s June 23,

 2010 motion for the grand jury master list.

                                        VII

       Watts’s July 14, 2010 motion for request for an expert witness

 in   handwriting      analysis    [452],     July       23,   2010        request   for

 appointment of expert witness [485], and August 30, 2010 motion for

 list of qualified experts [584] are denied. As the court explained

 in a July 23, 2010 sealed order,8 to the extent Watts will not

 incur     costs   that   exceed      the   limits       imposed      by     18   U.S.C.

 § 3006A(e)(2)(A), he does not need a court appointment to retain

 the services of an expert.        Additionally, because he is pro se, he



       8
       The order was filed under seal because it deals with the
 subject of defense experts.    Because the order is sealed, the
 court’s   explanation   and  description   of   the  order   are
 correspondingly limited here so that the court does not disclose
 information involving codefendants that the government is not
 entitled to know.

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 must locate and retain expert witnesses himself, since he has

 waived the assistance of counsel to do this for him.             It is not the

 court’s responsibility to identify and retain expert witnesses for

 a pro se defendant.      And to the extent the costs of one or more of

 his experts exceed the maximum compensation allowed by statute

 without court approval, he is subject to the terms of the budget

 approved by this court and by the designee of the Chief Judge of

 the Fifth Circuit and to any applicable cost-sharing provisions of

 that budget.

                                       VIII

       Watts’s July 21, 2010 motion for evidentiary hearing [479] and

 memorandum in support [482] are denied to the extent they request

 relief.    The motion requests a hearing on Watts’s April 29, 2010

 motion to vacate void judgment [337], which the court struck on May

 5, 2010.    See Watts, No. 3:09-CR-249-D, at 3.           Watts’s motion for

 evidentiary hearing and memorandum in support are therefore denied

 as moot to the extent they request relief.

                                        IX

       Watts’s August 5, 2010 motion for continuance [524] is denied

 without prejudice as moot. After Watts filed his motion, the court

 on August 26, 2010 granted the motion for continuance filed by a

 codefendant and continued the trial of all defendants to February

 7, 2011.    Because Watts does not explicitly request a continuance

 to a date after February 7, 2011, the court denies his motion


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 without prejudice as moot.

                                        X

       Watts’s August 20, 2010 motions to suppress [564] [566] are

 denied.     Watts moves to suppress statements and/or confessions

 obtained by the government, contending that he was not read his

 Miranda rights and that he was interrogated without his attorney.

 Although it is not clear from Watts’s motions what specific

 statements and/or confessions he seeks to suppress, the government

 states in response that it is not in possession of statements or

 confessions by Watts that will be used in this case.                   The court

 therefore denies Watts’s motions to suppress.

                                        XI

       Watts’s August 20, 2010 request for deposition [565] is

 denied.     The court may grant a motion for a deposition when

 exceptional circumstances are present and in the interest of

 justice.     See Rule 15(a)(1).        “Such extraordinary circumstances

 include, for example, situations where a potential deponent would

 not likely be able to return to the United States.”              United States

 v. Lucas, 516 F.3d 316, 348 (5th Cir. 2008).                  “[T]he proposed

 deposition must be ‘material.’” Id. (quoting United States v.

 Dillman, 15 F.3d 384, 389 (5th Cir. 1994)).                    Watts has not

 demonstrated that exceptional circumstances are present or that the

 proposed deposition testimony is material to this case.                The court

 therefore denies Watts’s request for deposition.


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                                       XII

       Watts filed on August 30, 2010 a writ of mandamus [583] that

 appears to seek relief from the United States Court of Appeals for

 the Fifth Circuit but was filed with the clerk of this court.                The

 court will not take action in response to this petition.

       SO ORDERED.

       November 2, 2010



                                      _________________________________
                                      SIDNEY A. FITZWATER
                                      CHIEF JUDGE




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